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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


HOSPITAL FOR SPECIAL SURGERY et al,

                 Plaintiffs,

         v.                                               Civil Action No. 21-2020 (TJK)

XAVIER BECERRA,

                 Defendant.


                               STANDING ORDER IN CIVIL CASES

        It is the responsibility of the parties, counsel, and the Court to “secure the just, speedy, and
inexpensive determination of every action and proceeding” in federal court. Fed. R. Civ. P. 1. To
that end, it is hereby ORDERED that the parties shall comply with the following directives:

    1.        Local Rules

              Absent a contrary order of the Court, all parties, including those proceeding pro se,
              shall comply with the Rules of the U.S. District Court for the District of Columbia
              (“Local Civil Rules”), which are available at https://www.dcd.uscourts.gov/court-
              info/local-rules-and-orders/local-rules.

    2.        Communications with Chambers

              Except as authorized in this order, parties may not contact chambers by telephone. Ex
              parte communication with the Court, including through law clerks, is prohibited. If
              extraordinary circumstances or emergencies so require, however, counsel may contact
              chambers jointly via conference call. Chambers will not provide legal advice of any
              kind. Parties may also contact the Courtroom Deputy Clerk, Katrina Harris, at
              Katrina_Harris@dcd.uscourts.gov or (202) 354-3495, with scheduling inquiries
              about the case.

    3.        Service of the Complaint and Standing Order

              Plaintiff shall promptly serve the Complaint in accordance with Federal Rule of Civil
              Procedure 4; shall file the proof of service with the Court, in accordance with Local
              Civil Rule 5.3; and shall ensure that all parties receive a copy of this Standing Order.
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    4.    Removed Actions

          A Defendant removing an action to this Court must refile as a supplement to the
          Notice of Removal the original Complaint and any Answer and must promptly ensure
          that all Parties receive a copy of this Standing Order. Any motions pending at the
          time of removal must be refiled in this Court by the party seeking relief for the
          motion to be considered. See Fed. R. Civ. P. 81(c)(2).

    5.    Court Proceedings

          Unless otherwise indicated, all proceedings will be conducted in Courtroom 11 on the
          fourth floor of the E. Barrett Prettyman United States Courthouse, 333 Constitution
          Avenue, N.W., Washington, D.C. 20001. When the Court orders proceedings to
          proceed telephonically, each party must contact the Courtroom Deputy at (202) 354-
          3495 at least one business day in advance to make arrangements to appear.

    6.    Electronic Filing

          Except as provided for in Local Civil Rule 5.41 or with prior leave of Court upon
          good cause shown, the parties shall file all documents electronically. All
          electronically filed documents shall be filed in text-searchable Portable Data Format
          (PDF). Exhibits that must be scanned because they exist only in paper format should,
          if possible, be submitted as text-searchable files using Optical Character Recognition
          (OCR) technology, available in Adobe Acrobat. All electronically filed documents
          and exhibits shall be clearly titled, and exhibits shall be filed as separate documents.
          The Court may take into consideration technical difficulties experienced by a filer
          when presented a late filing. However, parties who wait until the last minute to begin
          filing are warned that technical difficulties do not necessarily constitute “good cause”
          or “excusable neglect” justifying an extension of an applicable deadline. Fed. R. Civ.
          P. 6(b). Further, no allowance can be made for late filing documents whose time
          limits are jurisdictional.

    7.    Amended Pleadings

          Any amended or proposed amended pleadings shall be accompanied by a redline
          comparison of the original and amended or proposed pleading.

    8.    Initial Scheduling Conference and Scheduling Order

          After an Answer is filed, for those cases covered by Federal Rule of Civil Procedure
          26(f) and Local Civil Rule 16.3, the Court will set an Initial Scheduling Conference
          and order the parties to meet and confer to discuss the matters set forth in Local Civil
          Rule 16.3(c), and to jointly file a report addressing them. Following the Initial
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 For example, parties proceeding pro se who do not have Case Management/Electronic Case
Files (CM/ECF) System access are excused from the electronic filing requirement. See LCvR
5.4(e)(2).


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      Scheduling Conference, the Court will issue a Scheduling Order governing further
      proceedings in the case.

9.    Rescheduling Hearings

      Requests to reschedule hearings are discouraged. If a party seeks to change a
      previously scheduled hearing date, that party shall meet and confer with the opposing
      party and file a motion at least one week prior to the scheduled hearing that shows
      good cause and proposes four alternative dates and times that would be convenient
      for all parties. If the suggested dates and/or times are not available on the Court’s
      calendar, the Court will select an alternative date and/or time. In the event that the
      Court is closed or has a delayed opening due to inclement weather or
      an unforeseen emergency, affected hearings will be rescheduled by the Courtroom
      Deputy Clerk. If a party cannot comply with this one-week requirement, it shall
      explain why it cannot do so in its motion.

10.   Motions for Extensions of Time

      Motions for extensions or enlargements of time are discouraged. Such motions will
      only be granted only upon motion and not upon stipulation of the parties. Such
      motions shall be filed at least four days prior to the deadline at issue and conform
      with the requirements set forth in this section. If a party cannot comply with this
      four-day requirement, it shall explain why it cannot do so in its motion. Motions for
      extension of time shall include the following: (1) the original date of the deadline the
      motion is seeking to extend; (2) the time requested for the extension; (3) the number
      of previous extensions, if any, granted to each party; (4) good cause supporting the
      extension; (5) the effect, if any, that the granting of the extension will have on other
      previously-set deadlines; (6) a proposed schedule for any other affected deadlines, to
      be proposed only after consulting with opposing counsel; and (7) a statement of
      whether opposing counsel opposes the motion in accordance with Local Civil Rule
      7(m). If a party intends to file an opposition, it shall do so by 5:00 p.m. the
      business day after the motion is filed.

11.   Other Non-Dispositive Motions

      a.     Duty to Confer

             All non-dispositive motions shall comply with Local Civil Rule 7(m), which
             applies to all non-incarcerated parties. The Court may deny any non-
             dispositive motion that fails to include the required statement.

      b.     Motions for Admission Pro Hac Vice

             All motions for admission pro hac vice shall comply with the requirements of
             Local Civil Rule 83.2(d). The Court may deny any such motion that fails to
             provide all required information.



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             c.     Motions for Protective Order

                    All motions for protective order shall: (1) include as an attachment the
                    proposed order, and (2) explain why good cause exists to enter the proposed
                    order, see Fed R. Civ. P. 26(c); Klayman v. Judicial Watch, Inc., 247 F.R.D.
                    19, 22–23 (D.D.C. 2007).

             d.     Motions to Seal

                    Absent specific statutory authority, a proposed sealed document in an
                    otherwise unsealed case must be accompanied with a motion to seal in
                    accordance with Local Civil Rule 5.1(h) and be filed pursuant to the
                    procedures established by the Clerk’s Office. Any motion for leave to file
                    under seal shall: (1) explain why sealing specific information is justified in
                    light of the factors set forth in United States v. Hubbard, 650 F.2d 293 (D.C.
                    Cir. 1980); (2) propose redactions or explain why redactions are sufficiently
                    impracticable to outweigh the presumption of public access; and (3) include as
                    a separate exhibit each document sought to be sealed. Parties may not
                    justify sealing solely on the basis that information is covered by a
                    protective order. When proposing redactions, parties shall also file an
                    unredacted copy of the document with the proposed redacted portions
                    highlighted.

      12.    Motions for Summary Judgment

             For those cases covered by Local Civil Rule 7(h)(1), each party submitting a motion
             for summary judgment shall comply with it by submitting a statement of material
             facts for which that party contends there is no genuine dispute, with specific citations
             to those portions of the record upon which the party relies in fashioning the statement.
             The party opposing the motion shall, in turn, submit a statement enumerating all
             material facts which the party contends are genuinely disputed and thus require trial.

             The Court strictly enforces Local Civil Rule 7(h)(1) when resolving motions for
             summary judgment and will “assume that facts identified by the moving party in its
             statement of material facts are admitted, unless such a fact is controverted in the
             statement of genuine issues filed in opposition to the motion.” LCvR 7(h)(1); see
             also Fed. R. Civ. P. 56(e). In addition, the parties are encouraged to carefully review
             Jackson v. Finnegan, Henderson, Farabow, Garrett & Dunner, 101 F.3d 145 (D.C.
             Cir. 1996); the Court may strike statements of material fact that do not conform to the
             rules or do not comply with the below instructions.

             The parties shall follow these instructions when briefing motions for summary
             judgment and filing statements of material facts:2



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    Sample statements are provided as attachments to this Standing Order.


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      a.     Movant’s Statement of Material Facts Not in Dispute

             The party moving for summary judgment shall, in accordance with Local
             Civil Rule 7(h)(1), file a short and concise statement of material facts for
             which it contends there is no genuine dispute. This document shall be
             formatted as a two-column table entitled “Statement of Material Facts Not in
             Dispute.” In the left column, the moving party shall list in separately
             numbered rows concise statements of each material fact it contends is not in
             dispute, supported by citations to the record. The statement must contain only
             one undisputed factual assertion per numbered row. Following the filing of
             this document, the moving party shall promptly provide an electronic copy in
             editable format to the opposing party.

      b.     Opponent’s Counter-Statement of Disputed Facts

             The party opposing summary judgment shall, in accordance with Local Civil
             Rule 7(h)(1), file a statement setting forth all material facts that the party
             contends are genuinely disputed and thus require trial. This document shall
             be formatted as a two-column table entitled “Counter-Statement of Disputed
             Facts.” In the left column, the opposing party shall include the list of material
             facts that the movant contends are not in dispute, with the movant’s citations
             to the record. In the right column, the opposing party shall indicate whether
             each corresponding fact in the left column is admitted or denied, and for those
             denied, provide specific citations to the record. If the fact is admitted in part
             and denied in part, the opposing party shall specifically identify which parts
             are admitted and which are denied, with appropriate citations to the record.
             The opposing party shall also include any information relevant to its response
             in the right column, again, with specific citations to the record. If the
             opposing party has additional facts that do not directly correspond to its
             response to a specific paragraph, it must identify such facts in consecutively
             numbered rows in the right-hand column at the end of its responsive statement
             of facts. Following the filing of this document, the opposing party shall
             promptly provide an electronic copy in editable format to the moving party.

      c.     Movant’s Reply to Counter-Statement of Disputed Facts

             The moving party shall file a statement responding to any additional facts that
             the party opposing summary judgment has identified. This document shall be
             formatted as a two-column table entitled “Reply to Counter-Statement of
             Disputed Facts.” In the corresponding spaces in the left column, the moving
             party shall respond to the opposing party’s additional facts with appropriate
             citations to the record.

13.   Courtesy Copies

      The moving party shall deliver to chambers two copies of a binder containing all the
      motion papers for (a) any motion for which the total combined submissions from both


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           parties, including exhibits, exceeds 100 pages in total length, or (b) any motion for
           summary judgment, at the time the reply is filed. In the case of cross-motions, the
           initial moving party shall provide courtesy copies for the full set of briefing.
           Courtesy copies should include the headers added by the Case Management/
           Electronic Case Files (CM/ECF) System and be submitted in binders, three-hole
           punched, printed double-sided. Briefs and exhibits shall be tabbed and indexed for
           ease of reference. If hand delivered, courtesy copies should be delivered to the
           loading dock for screening and should not be delivered directly to chambers. If the
           parties have redacted or filed under seal any portion of the motion papers or attendant
           exhibits, courtesy copies shall be unredacted, but the portions redacted from public
           filings should be highlighted, so that the Court will know to refrain from quoting
           those passages in opinions and orders. Pro se parties are excused from complying
           with the courtesy-copy requirement.

   14.     Discovery

           The parties are expected to fully comply with Local Civil Rule 26.2. Moreover,
           counsel are required, under both Federal Rule of Civil Procedure 26(f) and Local
           Civil Rule 7(m), to confer in good faith in an effort to resolve any discovery dispute
           before bringing it to the Court’s attention. The parties shall not file a discovery
           motion without prior consultation with opposing counsel, and without leave of
           Court. If the parties are unable to resolve a discovery dispute, counsel shall contact
           Chambers jointly in order to arrange for a telephone conference with the Court.

   15.     Settlement

           The parties are expected to evaluate their respective cases for purposes of settlement.
           The Court encourages the use of alternative dispute resolution—e.g., mediation or
           neutral case evaluation. The use of these methods is available at any time, as is a
           settlement conference before a magistrate judge. If counsel are interested in pursuing
           these options, they may contact Chambers at any time. If the case settles in whole or
           in part, counsel shall promptly advise the Court.


         SO ORDERED.

                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: September 15, 2021




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  ATTACHMENT 1: SAMPLE STATEMENT OF MATERIAL FACTS NOT IN DISPUTE


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                          Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


     [DEFENDANT’S] STATEMENT OF MATERIAL FACTS NOT IN DISPUTE

1. Plaintiff began working at [Federal
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices
during the time she was supervised by [name
of supervisor]. Def.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on
her failure to report to work at her designated
reporting time. Def.’s Dep. Tr. at X.
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ATTACHMENT 2: SAMPLE COUNTER-STATEMENT OF DISPUTED MATERIAL FACTS


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                             Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


   [PLAINTIFF’S] COUNTER-STATEMENT OF DISPUTED MATERIAL FACTS

1. Plaintiff began working at [Federal            1. Admitted.
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.     2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with        3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices   4. Denied. Plaintiff received four, not five
during the time she was supervised by [name       written disciplinary notices. Pl.’s Dep. Tr. at X.
of supervisor]. Def.’s Dep. Tr. at X.             Plaintiff did not receive a written notice
                                                  regarding an alleged late arrival on [date], but
                                                  only a verbal warning. Pl.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position      5. Admitted.
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on      6. Denied. [Name of Supervisor] fired plaintiff
her failure to report to work at her designated   because of her age. Pl.’s Dep. Tr. at X.
reporting time. Def.’s Dep. Tr. at X.
                                                  7. On month, day, year, [name of supervisor]
                                                  asked plaintiff whether her age caused her to
                                                  allegedly be late to work. Pl.’s Dep. Tr. at X.
                                                  8. On month, day, year, [name of supervisor]
                                                  told plaintiff that he had never supervised
                                                  someone as old as her. Pl.’s Dep. Tr. at X.
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    ATTACHMENT 3: SAMPLE REPLY TO COUNTER-STATEMENT OF DISPUTED
                          MATERIAL FACTS

                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


[NAME(S)],

              Plaintiff(s),

      v.                                                Civil Action No. __-___ (TJK)

[NAME(S)],

              Defendant(s).


 [DEFENDANT’S] REPLY TO COUNTER-STATEMENT OF DISPUTED MATERIAL
                             FACTS

1. Plaintiff began working at [Federal               1. Admitted.
Agency] on [date] as an [title of position].
Pl.’s Dep. Tr. at X.
2. At that time plaintiff was [XX] years old.        2. Admitted.
Pl.’s Dep. Tr. at X.
3. At all times during her employment with           3. Admitted.
[Federal Agency], plaintiff’s supervisor was
[name of supervisor]. Pl.’s Dep. Tr. at X;
Def.’s Dep. Tr. at X.
4. Plaintiff received five disciplinary notices      4. Denied. Plaintiff received four, not five
during the time she was supervised by [name          written disciplinary notices. Pl.’s Dep. Tr. at X.
of supervisor]. Def.’s Dep. Tr. at X.                Plaintiff did not receive a written notice
                                                     regarding an alleged late arrival on [date], but
                                                     only a verbal warning. Pl.’s Dep. Tr. at X.
5. Plaintiff was dismissed from her position         5. Admitted.
on [date]. Pl.’s Dep. Tr. at X; Def.’s Dep. Tr.
at X.
6. Plaintiff’s dismissal was based solely on         6. Denied. [Name of Supervisor] fired plaintiff
her failure to report to work at her designated      because of her age. Pl.’s Dep. Tr. at X.
reporting time. Def.’s Dep. Tr. at X.
7. Denied. [Name of Supervisor] never asked          7. On month, day, year, [name of supervisor]
plaintiff whether her age caused her to be late to   asked plaintiff whether her age caused her to
work. Def.’s Dep. Tr. at X.                          allegedly be late to work. Pl.’s Dep. Tr. at X.
8. Denied. [Name of Supervisor] never told           8. On month, day, year, [name of supervisor]
plaintiff that he had never supervised someone       told plaintiff that he had never supervised
as old as her. Def.’s Dep. Tr. at X.                 someone as old as her. Pl.’s Dep. Tr. at X.
